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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:04CR406
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
LISA K, MUTUM,                                )
                                              )
              Defendant.                      )

       The government has filed a motion for reduction of sentence pursuant to Federal

Rule of Criminal Procedure 35(b) (Filing No.62).

       IT IS ORDERED:

       1.     Counsel for the government shall notify the court when the motion for

reduction in sentence pursuant to Rule 35(b) (Filing No. 62) is ripe. The motion will not be

decided until counsel for the government certifies that the motion is ripe;

       2.     Upon representation that Marne B. Koerber is no longer practicing in this

District, the Federal Public Defender for the District of Nebraska is appointed to represent

the above named defendant in this matter. In the event that the Federal Public Defender

accepts this appointment, the Federal Public Defender shall forthwith file an appearance

in this matter. In the event the Federal Public Defender should decline this appointment

for reason of conflict or on the basis of the Criminal Justice Act Plan, the Federal Public

Defender shall forthwith provide the court with a draft appointment order (CJA Form 20)

bearing the name and other identifying information of the CJA Panel attorney identified in

accordance with the Criminal Justice Act Plan for this district;

       3.     The Clerk of the Court shall provide a copy of this order to counsel for the

government, counsel for the Defendant, and the Federal Public Defender.

       DATED this 18th day of September, 2007.

                                          BY THE COURT:

                                           s/ Laurie Smtih Camp
                                          United States District Judge
